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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
_____________________________________________

ABDOU SECK on behalf of himself and
all other similarly situated consumers

                             Plaintiff,

             -against-

MERCANTILE ADJUSTMENT BUREAU, LLC

                        Defendant.
_____________________________________________


                              CLASS ACTION COMPLAINT

                                          Introduction

1.    Plaintiff, Abdou Seck, brings this action against Mercantile Adjustment Bureau, LLC for

      violations of the Fair Debt Collection Practices Act, 15 U.S.C. § 1692, et seq.

      (“FDCPA”). The FDCPA prohibits debt collectors from engaging in abusive, deceptive

      and unfair collection practices while attempting to collect on debts.

                                                 Parties

2.    Plaintiff is a citizen of the State of New York who resides within this District.

3.    Plaintiff is a consumer as that term is defined by Section 1692(a)(3) of the FDCPA, in

      that the alleged debt that Defendant sought to collect from Plaintiff a consumer debt.

4.    Upon information and belief, Defendant's principal place of business is located in

      Williamsville, New York.

5.    Defendant is regularly engaged, for profit, in the collection of debts allegedly owed by

      consumers.




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6.    Defendant is a “debt collector” as that term is defined by the FDCPA, 15 U.S.C. §

      1692(a)(6).

                                         Jurisdiction and Venue

7.    This Court has federal question jurisdiction under 15 U.S.C. § 1692k(d) and 28 U.S.C. §

      1331.

8.    Venue is proper in this district pursuant to 28 U.S.C. § 1391(b), as the acts and

      transactions that give rise to this action occurred, in substantial part, in this district.

                                   Allegations Particular to Abdou Seck

9.    Upon information and belief, on a date better known by Defendant, Defendant began to

      attempt to collect an alleged consumer debt from the Plaintiff.

10.   On or about April 9, 2015, Defendant sent the Plaintiff a collection letter.

11.   The said letter was an effort to collect on a consumer debt.

12.   The said letter stated in pertinent part: “Fees 0.00.”

13.   The Defendant's statement of “Fees 0.00” is unlawful.

14.   The Defendant did not have any legal right to include any such language in the said

      collection letter.

15.   An unsophisticated consumer could be led to believe that though there is no collection fee

      at this time he may be responsible to pay such a fee in the future.

16.   The said letter’s language suggests a threat, and is perplexing to the unsophisticated

      consumer implying that the creditor is permitted to receive a collection fee.

17.   Such a statement of “Fees 0.00” is not considered a permissible fee that a creditor may

      charge in connection with a consumer credit transaction. Tylke v. Diversified

      Adjustment Service, Inc., No. 14-CV-748 (E.D. Wis. Oct. 28, 2014). ([I]t is possible that,




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      as the defendant suggests, an "unsophisticated consumer" might understand the statement

      to be explaining that no part of the debt is a "collection fee" even though the (creditor’s)

      agreement allows for one. On the other hand, it is also possible that an "unsophisticated

      consumer" would interpret the statement to mean that there is no "collection fee" now but

      that one could be assessed later on. In other words, the inclusion of a collection fee, even

      one showing a balance of zero, could imply the future possibility of one. Such a reading

      is neither bizarre nor idiosyncratic.)

18.   The said language can be reasonably read to have two or more different meanings, one of

      which is inaccurate. Pipiles v. Credit Bureau of Lockport, Inc., 886 F.2d 22, 25 (2d Cir.

      1989) (Because the collection notice was reasonably susceptible to an inaccurate reading,

      it was deceptive within the meaning of the Act.); Clomon v. Jackson, 988 F.2d 1314,

      1319 (2d Cir. 1993) (Collection notices are deceptive if they are open to more than one

      reasonable interpretation, at least one of which is inaccurate.); Russell v. Equifax A.R.S.,

      74 F.3d 30, 34 (2d Cir. N.Y. 1996). (A collection notice is deceptive when it can be

      reasonably read to have two or more different meanings, one of which is inaccurate. The

      fact that the notice's terminology was vague or uncertain will not prevent it from being

      held deceptive under § 1692e(10) of the Act.)

19.   Defendant's April 9, 2015 letter has violated 15 U.S.C. §§ 1692e, 1692e(2), 1692e(5)

      1692e(10), 1692f and 1692f(1) for the use of false and deceptive means; for falsely

      representing the character, amount, or legal status of a debt; for the false representation of

      compensation which may be lawfully received by a debt collector for the collection of a

      debt; for threatening to take any action that cannot legally be taken or that is not intended

      to be taken; for the use of unfair and unconscionable means to collect on a debt; and for




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      attempting to collect an amount unless such an amount is expressly authorized by the

      agreement creating the debt or permitted by law.

20.   Plaintiff seeks to end these violations of the FDCPA. Plaintiff and putative class members

      are entitled to preliminary and permanent injunctive relief, including, declaratory relief,

      and damages.

                                      CLASS ALLEGATIONS

21.   This action is brought as a class action. Plaintiff brings this action on behalf of himself

      and on behalf of all other persons similarly situated pursuant to Rule 23 of the Federal

      Rules of Civil Procedure.

22.   The identities of all class members are readily ascertainable from the records of

      Mercantile Adjustment Bureau, LLC and those business and governmental entities on

      whose behalf it attempts to collect debts.

23.   Excluded from the Plaintiff's Class is the Defendant and all officers, members, partners,

      managers, directors, and employees of Mercantile Adjustment Bureau, LLC, and all of

      their respective immediate families, and legal counsel for all parties to this action and all

      members of their immediate families.

24.   There are questions of law and fact common to the Plaintiff's Class, which common

      issues predominate over any issues involving only individual class members. The

      principal issues are whether the Defendant's communications with the Plaintiff, such as

      the above stated claims, violate provisions of the Fair Debt Collection Practices Act.

25.   The Plaintiff's claims are typical of the class members, as all are based upon the same

      facts and legal theories.




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26.   The Plaintiff will fairly and adequately protect the interests of the Plaintiff's Class defined

      in this complaint. The Plaintiff has retained counsel with experience in handling

      consumer lawsuits, complex legal issues, and class actions, and neither the Plaintiff nor

      his attorneys have any interests, which might cause them not to vigorously pursue this

      action.

27.   This action has been brought, and may properly be maintained, as a class action pursuant

      to the provisions of Rule 23 of the Federal Rules of Civil Procedure because there is a

      well-defined community interest in the litigation:

         (a)      Numerosity: The Plaintiff is informed and believes, and on that basis alleges,

                  that the Plaintiff's Class defined above is so numerous that joinder of all

                  members would be impractical.

         (b)      Common Questions Predominate: Common questions of law and fact exist

                  as to all members of the Plaintiff's Class and those questions predominate

                  over any questions or issues involving only individual class members. The

                  principal issues are whether the Defendant's communications with the

                  Plaintiff, such as the above stated claims, violate provisions of the Fair Debt

                  Collection Practices Act.

         (c)      Typicality: The Plaintiff's claims are typical of the claims of the class

                  members. Plaintiff and all members of the Plaintiff's Class defined in this

                  complaint have claims arising out of the Defendant's common uniform

                  course of conduct complained of herein.

         (d)      Adequacy: The Plaintiff will fairly and adequately protect the interests of

                  the class members insofar as Plaintiff has no interests that are adverse to the




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                  absent class members. The Plaintiff is committed to vigorously litigating

                  this matter. Plaintiff has also retained counsel experienced in handling

                  consumer lawsuits, complex legal issues, and class actions. Neither the

                  Plaintiff nor his counsel have any interests, which might cause them not to

                  vigorously pursue the instant class action lawsuit.

         (e)      Superiority: A class action is superior to the other available means for the

                  fair and efficient adjudication of this controversy because individual

                  joinder of all members would be impracticable. Class action treatment

                  will permit a large number of similarly situated persons to prosecute their

                  common claims in a single forum efficiently and without unnecessary

                  duplication of effort and expense that individual actions would engender.

                  Certification of a class under Rule 23(b)(l)(A) of the Federal Rules of Civil

                  Procedure is appropriate because adjudications with respect to individual

                  members create a risk of inconsistent or varying adjudications which could

                  establish incompatible standards of conduct for Defendant who, on

                  information and belief, collects debts throughout the United States of

                  America.

28.   Certification of a class under Rule 23(b)(2) of the Federal Rules of Civil Procedure is

      also appropriate in that a determination that the above stated claims, violate provisions of

      the Fair Debt Collection Practices Act, and is tantamount to declaratory relief and any

      monetary relief under the FDCPA would be merely incidental to that determination.

29.   Certification of a class under Rule 23(b)(3) of the Federal Rules of Civil Procedure is

      also appropriate in that the questions of law and fact common to members of the




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         Plaintiff's Class predominate over any questions affecting an individual member, and a

         class action is superior to other available methods for the fair and efficient adjudication of

         the controversy.

30.      Further, Defendant has acted, or failed to act, on grounds generally applicable to the Rule

         (b)(l)(A) and (b)(2) Class, thereby making appropriate final injunctive relief with respect

         to the Class as a whole.

31.      Depending on the outcome of further investigation and discovery, Plaintiff may, at the

         time of class certification motion, seek to certify one or more classes only as to particular

         issues pursuant to Fed. R.Civ. P. 23(c)(4).

                            AS AND FOR A FIRST CAUSE OF ACTION

      Violations of the Fair Debt Collection Practices Act brought by Plaintiff on behalf of
                  himself and the members of a class, as against the Defendant.

32.      Plaintiff re-states, re-alleges, and incorporates herein by reference, paragraphs one (1)

         through thirty one (31) as if set forth fully in this cause of action.

33.      This cause of action is brought on behalf of Plaintiff and the members of a class.

34.      The said class involves all individuals whom Defendant's records reflect resided in the

         State of New York and who were sent a collection letter similar to the letter sent to the

         Plaintiff; and (a) the collection letter was sent to a consumer seeking payment of a

         personal debt; and (b) the collection letter was not returned by the postal service as

         undelivered; and (c) the Plaintiff asserts that the letter contained violations of 15 U.S.C.

         §§ 1692e, 1692e(2), 1692e(5) 1692e(10), 1692f and 1692f(1) for the use of false and

         deceptive means; for falsely representing the character, amount, or legal status of a debt;

         for the false representation of compensation which may be lawfully received by a debt

         collector for the collection of a debt; for threatening to take any action that cannot legally



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        be taken or that is not intended to be taken; for the use of unfair and unconscionable

        means to collect on a debt; and for attempting to collect an amount unless such an amount

        is expressly authorized by the agreement creating the debt or permitted by law.

                           Violations of the Fair Debt Collection Practices Act

35.     The Defendant's actions as set forth above in the within complaint violates the Fair Debt

        Collection Practices Act.

36.     Because the Defendant violated the Fair Debt Collection Practices Act, the Plaintiff and

        the members of the class are entitled to damages in accordance with the Fair Debt

        Collection Practices Act.

WHEREFORE, Plaintiff, respectfully requests preliminary and permanent injunctive relief, and that this

Court enter judgment in Plaintiff's favor and against the Defendant and award damages as follows:

        (a)     Statutory and actual damages provided under the FDCPA, 15 U.S.C. § 1692(k);

        (b)     Attorney fees, litigation expenses and costs incurred in bringing this action; and

        (c)     Any other relief that this Court deems appropriate and just under the

                circumstances.

Dated: Brooklyn, New York
       May 11, 2015
                                                 ___/s/__Maxim Maximov___________
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Plaintiff requests trial by jury on all issues so triable.

                                                  __/s/__ Maxim Maximov__________
                                                  Maxim Maximov, Esq.



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